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Phoenix Office                IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF ARIZONA
                                       CRIMINAL MINUTES

CR-12-01263-01-PHX-ROS                   DATE: 1/31/2018
Case Number

HON: ROSLYN O. SILVER

USA v.    Ahmed Alahmedalabdaloklah

DEFENDANT: X Present            Not Present    Released X Custody Writ

Deputy Clerk: Christine Boucher                       Court Reporter: Elva Cruz-Lauer (am)/Laurie
Adams(pm)

U.S.Atty: Joseph Kaster, David Pimsner,                  Defense Atty: Gregory Bartolomei, Jami Johnson
Melissa Karlen, Bill Solomon                             Molly Karlin, Shishene Jing
                                                          X AFPD apptd retd
Arabic Interpreter: Mohamed Abedalaziz
===========================================================================
PROCEEDINGS: / X / JURY TRIAL /_/ COURT TRIAL / / VOIR DIRE / / JURY SWORN
Trial Day # 2

8:39 a.m. Court reconvenes. Jury is not present Preliminary matters discussed. 8:53 a.m. Jury enters the
courtroom. Government’s case: Col. Kurt Pinkerton is sworn and examined. Exhibit 34 is admitted. 9:41 a.m.
Cross-examination. 10:05 a.m. No redirect. Witness is excused. 10:06 a.m. Court is in recess.

10:27 a.m. Court reconvenes. Jury is not present. Discussion is held regarding the video deposition of Jamal
Al-Dhari. 10:40 a.m. Court is in recess.

10:46 a.m. Court reconvenes. Jury is not present. Discussion is held regarding the video deposition of Jamal
Al-Dhari. 10:48 a.m. Jury enters the courtroom. Government calls Jamal Al-Dhari by way of video deposition.
Exhibit 1 is admitted. 12:04 p.m. Court is in recess.

1:14 p.m. Court reconvenes. Jury is present. Deposition of Jamal Al-Dhari continues to be played to the jury.
Exhibit 14 admitted. 2:17 p.m. Court is in recess.

2:46 p.m. Court reconvenes. Jury is present. Deposition of Jamal Al-Dhari continues. 4:15 p.m. Jury is
excused from the courtroom. Discussion is held regarding upcoming witnesses. 4:18 p.m. Court is in recess and
will reconvene on 2/1/18 at 8:30 a.m.

                                                                                    Time in court: 5 hrs. 33 min.
